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   ViacomCBS Inc.
 8
 9
                       UNITED STATES DISTRICT COURT
10
                     CENTRAL DISTRICT OF CALIFORNIA
11
                                 WESTERN DIVISION
12
13 CANDESHA WASHINGTON,                  ) Case No. 2:20-cv-00435
                                         )
14                   Plaintiff           ) DEFENDANT’S NOTICE OF
                                         ) MOTION AND MOTION TO
15           v.                          ) DISMISS AMENDED COMPLAINT
                                         ) PURSUANT TO FED. R. CIV. P.
16 VIACOMCBS, INC.; AND DOES 1           ) 12(B)(6)
   THROUGH 50,                           )
17                                       )
                Defendants.              ) [Hon. Consuelo B. Marshall]
18                                       )
                                         ) [Defendant’s Request for Judicial Notice;
19                                       ) Declaration of Shelby Palmer; and
                                         ) [Proposed] Order filed concurrently
20                                       ) herewith]
                                         )
21                                       ) Date: March 9, 2021
                                         ) Time: 10:00 A.M.
22                                       ) Place: Room 8B
                                         )
23                                       )
                                         )
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 1 TO PLAINTIFF IN PROPRIA PERSONA:
 2           PLEASE TAKE NOTICE that on March 9, 2021 at 10:00 a.m., or as soon
 3 thereafter as the parties may be heard before the Honorable Consuelo B. Marshall,
 4 United States District Judge, in Courtroom 8B of the above-entitled court, located at
 5 350 W. First Street, Los Angeles, California 90012, defendant ViacomCBS Inc.
 6 (“Defendant”) will and hereby does move to dismiss the Amended Complaint filed by
 7 plaintiff Candesha Washington (“Plaintiff”) pursuant to Rules 12(b)(1) and 12(b)(6) of
 8 the Federal Rules of Civil Procedure.
 9           Defendant moves to dismiss on the grounds that Plaintiff has failed to state any
10 claim upon which relief can be granted. Plaintiff has failed to allege any separately
11 identifiable claims for relief, despite the fact that she lists four purported claims for
12 relief on the face page of the Amended Complaint. The Amended Complaint lacks
13 many of the required allegations for a claim of copyright infringement, and contains no
14 allegations supporting a claim for violations of California Business and Professions
15 Code sections 17200 et seq. and no allegations supporting a claim for declaratory relief.
16           To the extent the Amended Complaint reasonably can be construed as attempting
17 to allege a claim for copyright infringement based upon an episode of the television
18 series Bull, judgment should be entered in Defendant’s favor because (i) Plaintiff has
19 failed to sufficiently allege that any of the creators or writers of the Bull episode had
20 legally cognizable access to Plaintiff’s works, and (ii) there is clearly no substantial
21 similarity between either of Plaintiff’s works and the Bull episode as a matter of law.
22           This Motion is based upon this Notice of Motion and the attached Memorandum
23 of Points and Authorities; the pleadings and papers on file in this action; Defendant’s
24 Request for Judicial Notice filed concurrently herewith and any other matters of which
25 the Court may take judicial notice; the Declaration of Shelby A. Palmer; the works
26 previously lodged by Defendant in the Court’s record (Dkt. #15-1) and such other
27 evidence and argument that may be presented to this Court at or before the hearing on
28 this Motion.

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 1
 2                                    Respectfully submitted,
 3 Dated: February 3, 2021            KATTEN MUCHIN ROSENMAN LLP
 4
 5                                    By: /s/ Shelby A. Palmer
                                           Shelby A. Palmer
 6                                    Attorneys for Defendant
                                      ViacomCBS Inc.
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 1
 2                   MEMORANDUM OF POINTS AND AUTHORITIES
 3 I.        INTRODUCTION AND PROCEDURAL HISTORY
 4           Plaintiff Candesha Washington’s (“Plaintiff”) original Complaint purported to
 5 state four separate claims for relief:      (1) copyright infringement based upon an
 6 individual episode of the television series Bull (the “Bull Episode”); (ii) copyright
 7 infringement based upon a supposedly-planned television remake of the motion picture
 8 Clueless; (iii) violations of California Business & Professions Code section 17200 et
 9 seq. (“Section 17200”); and (iv) declaratory relief. Each claim was separately alleged.
10           Defendant ViacomCBS (“Defendant”) moved to dismiss the original Complaint
11 pursuant to Rules 12(b)(6) and 12(b)(1) of the Federal Rules of Civil Procedure. On
12 August 20, 2020, after considering the parties’ submissions in support of and in
13 opposition to the motion, the Court granted Defendant’s motion as to the purported
14 Clueless remake with prejudice. The Court found that because the proposed Clueless
15 remake had not yet been produced and no screenplay yet existed, “it is impossible to
16 assess whether the proposed Clueless remake will infringe the copyright of Plaintiff,
17 and no concrete legal issue is presented.” [Dkt. #25, p. 10.]
18           With respect to Plaintiff’s copyright infringement claim regarding the Bull
19 Episode, the Court found that Plaintiff had failed to adequately allege that Defendant
20 had access to Plaintiff’s written treatment, entitled #SquadGoals (the “Treatment”), and
21 failed to allege substantial similarities between the Treatment and the Bull Episode.
                                                                                      1
22 [Id. at pp. 6-9.] The Court dismissed this claim without prejudice. [Id. at p. 11.]
23           The Court concluded that the Copyright Act preempted Plaintiff’s Section 17200
24 claim, and dismissed that claim without prejudice.          Finally, the Court held that
25
26   1
         As a preliminary matter, the Court concluded that the allegations of the
27 Complaint related only to the Treatment, and not to Plaintiff’s copyrighted pilot script
   for #SquadGoals (the “Pilot”). Accordingly, the Court did not make any rulings with
28 respect to Defendant’s access to the Pilot or any substantial similarity between the Pilot
   and the Bull Episode. [Dkt. #25, p. 6.]
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 1 Plaintiff’s claim for declaratory relief “rises and falls with her claim for copyright
 2 infringement,” and dismissed that claim without prejudice, as well. [Id.]
 3           After her counsel withdrew, Plaintiff filed her Amended Complaint.2 Unlike the
 4 original Complaint, the Amended Complaint contains no separately-stated claims for
 5 relief (and no paragraph numbering, for that matter). Other than the fact that the face
 6 page of the Amended Complaint lists four purported causes of action (for copyright
 7 infringement, violation of Section 17200, “derivative copyright infringement” and
 8 declaratory relief), a reader of the Amended Complaint would not know what claims
 9 Plaintiff was attempting to allege or which allegations relate to which specific claims.
10 For example, Section 17200 is not mentioned anywhere in the body of the Amended
11 Complaint, which fails to state any claim for violation of this statute, much less one that
12 could survive preemption by the Copyright Act. Similarly, the body of the Amended
13 Complaint contains no allegations seeking a judicial declaration of any sort.
14           Reading the Amended Complaint in the light most favorable to Plaintiff, it
15 appears that she is attempting to allege that the Bull Episode infringes upon both the
16 Treatment and the Pilot (collectively, the “Works”). However, this claim fares no
17 better than it did the last time. First, Plaintiff still fails to allege that Defendant
18 obtained legally cognizable access to the Works. She offers four entirely speculative
19 theories as to how Defendant might have obtained access to the Works.3 The Court has
20
21
   2
          The particular circumstances leading up to the filing of the Amended Complaint
22 are more complicated than as explained above, but those details are not relevant to the
   pending motion.
23 3
          Specifically, Plaintiff alleges: (1) that she provided the Works to unaffiliated
24 third party Imagine Impact, LLC (“Imagine Impact”), and because Imagine Impact
   supposedly had a so-called “first look deal” with Defendant’s predecessor company,
25 CBS Corporation (“CBS”), it might have shared the Works with Defendant; (2) that the
   director of the Bull Episode once worked with the co-founder of Imagine Entertainment
26 on a different television series, and the Works might have been shared with Defendant
   through this prior connection; (3) that the co-creator of the Bull series once worked
27 with Imagine Entertainment’s co-founder on a different project, and the Works might
   have been shared with Defendant through this prior connection; and (4) that she
28 allegedly sent the Works to two individual producers who purportedly were employed
   by CBS, and one or both of them might have shared the Works with Defendant.
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 1 already rejected the first of these conjectural theories, and the three new theories are
 2 even more speculative than the first.
 3           Second, there simply is no substantial similarity between either of the Works and
 4 the Bull Episode. The Works and the Bull Episode have entirely different plots and
 5 characters.     That all three works involve an African-American female protagonist
 6 named Sadie provides no legal foundation for an infringement claim; and any other
 7 purported similarities between the works are inaccurate, misleading or generic – as this
 8 Court has already found with respect to the Treatment4 – and therefore not entitled to
 9 copyright protection.
10           Accordingly, Defendant respectfully requests that the Court now dismiss the
11 Amended Complaint with prejudice as its defects cannot be cured by amendment.
12 II.       SUMMARY OF THE WORKS
13           A.    Summary Of The Treatment5
14           The Treatment focuses on protagonist Sadie Williamson, the person she was
15 before she became a celebrity social media influencer and her struggles to adapt to life
16 in the limelight. The Treatment describes Sadie as a naïve girl from upstate New York
17 who suffers from anxiety and low self-esteem, and who ultimately comes to Los
18 Angeles with dreams of being a celebrity influencer. Sadie’s new “friend,” Roxy, is the
19 nastiest influencer of them all, and circumstances quickly devolve when she disappears.
20           Before coming to Los Angeles, Sadie moved to Manhattan to work for a fashion
21 magazine while simultaneously writing for her own fashion blog.             Evvy, a high-
22 powered publicist, recruits Sadie to move to Los Angeles to become an influencer.
23
24
   4
         In connection with Defendant’s motion to dismiss Plaintiff’s original Complaint,
25 the Court compared the Treatment to the Bull Episode and concluded there was no
   substantial similarity between the two works. [Dkt. #25, pp. 7-9.]
26 5
         This Motion’s summaries of the Pilot and the Treatment are derived from the
27 Copyright Office’s certified Copy of Deposit of these two documents, which are also in
   the Court’s record. [See Dkt. #15-1, pp. 5-70.] Thomas v. Walt Disney Co., 337 F.
28 App’x 694, 695 (9th Cir. 2009) (district court properly considered materials alleged in
   complaint in finding no substantial similarity).
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 1 Once in Los Angeles, Sadie succumbs to the pressures of being an “It Girl” by losing
 2 weight, changing the way she dresses and getting plastic surgery.
 3           Plaintiff describes the plot as “center[ing] around a murder mystery and
 4 discovering who commited [sic] the murder, when they did it, how they did it, why they
 5 did it, and what is the consequence of them doing it.” [Dkt. #15-1, p. 61.] The
 6 essential plot question is whether “Sadie [will] be able to evolve into the confident,
 7 strong woman that she was born to be without losing her sense of self in a world that’s
 8 constantly telling her that who she is at her core, is fundamentally not enough[.] Sadie
 9 must come to terms with finding worthiness through her intrinsic value and knowing
10 that she is deserving of love and success without selling out, but she must first learn to
11 love herself.”6 [Id. at p. 63.]
12           Evvy is the antagonist—a 40-something, cutthroat publicist. Unlike the Pilot, the
13 Treatment adds that Evvy is working on an exposé about how easy it is to exploit social
14 media influencers to get them to do what you want, and that Sadie is her “guinea pig”
15 test subject. Evvy is a victim of sexual assault and struggles with her experience. She
16 also chose her career over being a mother to her daughter. The Treatment notes that at
17 the end of the Pilot, Evvy’s daughter is found dead. Finally, the Treatment states that
18 the proposed series will include Sadie being betrayed by her best friend, her publicist,
19 her crush and Roxy, and simultaneously cover LGBTQ, mental health and #metoo
20 movement issues. The Treatment claims that “[t]he true essence of the series is about
21 shame and guilt caused by secrecy.” [Id. at p. 68.]
22           B.    Summary Of The Pilot
23           The 55-page Pilot delves more deeply into the central plot described in the
24 Treatment. Like the Treatment, the Pilot centers on the suspicious disappearance of a
25 popular social media influencer, Roxy, and the subsequent police investigation into
26 Roxy’s “squad,” as they were the last people to see her alive.
27
     6
28        As the next section will show, the Treatment’s description of Sadie is
     fundamentally at odds with how she is actually depicted in the Pilot.
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 1           The first scene takes place at the opening night of a Los Angeles nightclub that is
 2 swarming with onlookers and paparazzi. A black SUV drives up carrying popular
 3 Instagram influencer Sadie Williamson (a bi-racial African-American female in her
 4 20s) and her “squad” of three other social media influencers/girlfriends.7 When one of
 5 the squad, Jana, asks to walk the red carpet in front of Sadie, Sadie responds by secretly
 6 spiking Jana’s shot of alcohol with a quick-acting laxative. After Jana exits the SUV
 7 and begins to walk down the red carpet, she collapses on the ground writhing in pain
 8 and defecates all over herself. Throughout the Pilot, Sadie is portrayed as manipulative
 9 and selfish, if not a borderline sociopath.
10           Upon entering the nightclub, Sadie and her squad sit with Sadie’s boyfriend,
11 Miles8, and his friends. Two detectives arrive and ask the entire group to come with
12 them to the police station to answer some questions about the disappearance of Roxy.
13           The Pilot occasionally flashes back to earlier in Sadie’s life when she was an
14 eager, sweet and quiet assistant to an editor at a New York fashion magazine. During
15 the flashback, there is a one-line reference to Sadie having taken anti-anxiety pills, but
16 it is unclear why she took them in her past or whether she currently takes any such
17 medications. The Pilot suggests that Sadie was recruited to come to Los Angeles by
18 Evvy, who was looking for the “next big social media star” to promote.
19           When the Pilot flashes back to Roxy’s life prior to her disappearance, it is
20 revealed that Roxy was being manipulated and controlled by Evvy, who was also
21 Roxy’s publicist. Evvy is a no-nonsense professional who is concerned only with
22 increasing the popularity of her clients, even if at the expense of their well-being. After
23 Roxy disappears, Evvy essentially transfers all of Roxy’s endorsement deals to Sadie.
24           Sadie, Miles and their respective squads were the last people to see Roxy. The
25 detectives separately question each of them, and later bring in Evvy for questioning. At
26 the end of Evvy’s interview (which occurs at the end of the Pilot), the police tell Evvy
27   7
         Sadie and her squad were actually Roxy’s squad prior to Roxy’s disappearance.
     8
28       Miles had been Roxy’s boyfriend, but began dating Sadie after Roxy’s
   disappearance.
                                                  5
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 1 that they found her car crashed near Runyon Canyon with her assistant, Kaitlyn, dead
 2 inside the trunk. Evvy is devastated and tells the police that Kaitlyn was not just her
 3 assistant, but also her daughter.
 4           C.    Summary Of The Bull Episode9
 5           The Bull series focuses on the activities and exploits of the fictional Dr. Jason
 6 Bull, the founder of one of the most notable trial consulting firms in New York.
 7 Dr. Bull’s team is comprised of various experts, including a trial defense attorney, a
 8 computer hacker and a fashion consultant. Dr. Bull and his team provide insight and
 9 advice to clients facing legal conflicts.10 With respect to the Bull Episode, Dr. Bull’s
10 fashion consultant, who is familiar with the protagonist, Sadie Williams, and her
11 company, brings Sadie’s situation to Dr. Bull’s attention.
12           Sadie Williams (an African-American female in her early 30s) has a makeup line
13 called Define Yourself by Sadie (“Define Yourself”). Sadie started her business when
14 she was only 16 years old, when she began doing makeup videos online after
15 perceiving a need for makeup advice and tips for women of color. The plot of the
16 episode centers on Sadie’s desire to regain control over her company, which her
17 father—who was appointed Sadie’s legal conservator for all purposes—wants to sell
18 for a multi-million dollar price.
19           The episode begins with a big company presenting its offer to buy Define
20 Yourself and expand it into the international market. Sadie’s father wants to sell the
21 company, ostensibly in order to make Sadie financially secure for the rest of her life.
22 The acquiring company proposes to have a different “Sadie” spokesperson in each
23 country because it believes a brand representative who looks like the demographic of
24 each country will more effectively sell the products. But Sadie wants to personally
25 serve as brand ambassador for her company in every market and does not want to sell it
26   9
         A copy of the Bull Episode was previously lodged with the Court and is in the
   Court’s record. [Dkt. #17.]
27 10
         Each episode features most of the same recurring characters as well as new
28 one-off characters who play limited roles for limited plots. Sadie is not a recurring
   character and the Bull Episode is a one-episode story arc.
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 1 under these conditions. Sadie and her father are in direct conflict, but her father, as her
 2 conservator, gets to make this business decision, even if it is against Sadie’s wishes.
 3           Three years prior, when Sadie’s popularity and brand were skyrocketing, Sadie
 4 had a public “meltdown.” It was captured on camera and leaked online. In the midst of
 5 filming, Sadie began yelling, throwing things, screaming and kicking everyone around
 6 her.          Once hospitalized, Sadie was diagnosed with bipolar disorder.       During her
 7 hospitalization and early recovery, Sadie stopped working; her father petitioned the
 8 court and was appointed conservator over all of Sadie’s affairs.
 9           Now several years later, with the sale of her company at stake, Sadie seeks out
10 Dr. Bull to help her end the conservatorship and stop the sale of her company. Sadie
11 tells Dr. Bull and his team that she has been stable for almost two years, is taking
12 medication and is in therapy. The remainder of the episode focuses on the legal
13 proceedings to end the conservatorship, Sadie’s relationship with her father and the
14 tension between Dr. Bull and Sadie’s father, who appear to have different objectives.
15           By the conclusion of the episode, it is clear that Sadie’s father is only interested
16 in selling Sadie’s company in order to protect her and to secure her financial future.
17 The two reconcile and settle their dispute: Sadie agrees to the sale of the company and
18 her father agrees to end the conservatorship.
19 III.      STANDARDS FOR A MOTION TO DISMISS
20           A motion to dismiss must be granted unless the plaintiff alleges “more than the
21 mere possibility of misconduct;” otherwise, “the complaint has alleged—but it has not
22 ‘shown’—that the pleader is entitled to relief.” Wild v. NBC Universal, Inc., 788 F.
23 Supp. 2d 1083, 1097 (C.D. Cal. 2011), aff’d sub nom. Wild v. NBC Universal, 513 F.
24 App’x 640 (9th Cir. 2013) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009)); Bell
25 Atl. Corp. v. Twombly, 550 U.S. 544, 545 (2007) (“Factual allegations must be enough
26 to raise a right to relief above the speculative level.”). Although a plaintiff’s allegations
27 are generally taken as true, “labels and conclusions” are insufficient to defeat a motion
28 to dismiss. Newt v. Twentieth Century Fox Film Corp., No. 15-02778, 2016 WL

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 1 4059691, at *1 (C.D. Cal. July 27, 2016); Chavez v. U.S., 683 F.3d 1102, 1108 (9th Cir.
 2 2012) (“Mere conclusory statements in a complaint and ‘formulaic recitations of the
 3 elements of a cause of action’ are not sufficient.”). Moreover, “when the copyrighted
 4 work and the alleged infringement are both before the court, capable of examination
 5 and comparison, non-infringement can be determined on a motion to dismiss.”
 6 Campbell v. Walt Disney Co., 718 F. Supp. 2d 1108, 1111 (N.D. Cal. 2010).11
 7           Defendant is aware that this Court recently denied a motion to dismiss a
 8 copyright claim in an unrelated lawsuit, finding that “additional evidence such as expert
 9 testimony may help inform the question of substantial similarity in this case.” Irish
10 Rover Entertainment, LLC v. Sims, Case No. 20-cv-6293, at Dkt. #40 (C.D. Cal. Filed
11 January 21, 2021). This Court relied, in turn, on the Ninth Circuit’s recent decision in
12 Alfred v. Walt Disney Co., 821 F. App’x 727 (9th Cir. 2020). Quoting from Alfred, this
13 Court concluded: “at this stage of the litigation, it is difficult to know whether [various
14 common elements identified by the defendants] are indeed unprotectible material.”
15           This case is materially different from Alfred – as this Court already concluded in
16 its Order granting Defendant’s motion to dismiss Plaintiff’s original Complaint.12 In
17 Alfred, the appellate court agreed with the plaintiffs that their screenplay shared
18 sufficient similarities with the film Pirates of the Caribbean: Curse of the Black Pearl
19 to survive a motion to dismiss.13 While the district court had concluded that many of
20   11
          See also Musero, III v. Mosaic Media Grp. Inc., No. 10-1748, 2010 WL
21 11595453, at *2-6 (C.D. Cal. Aug. 9, 2010) (dismissing complaint and comparing
   plaintiff’s screenplay with the movie Bruno); Scott v. Meyer, No. 09-6076, 2009 WL
22 10673163, at *2-6 (C.D. Cal. Dec. 2, 2009) (dismissing complaint and comparing
   plaintiff’s novel with Twilight saga novel).
23 12     The Court observed: “Unlike Alfred and Metcalf, however, this Complaint fails
   to allege (or describe) the similarities in the arrangement of generic elements in the two
24 works,” noting “’. . . [w]e are particularly cautious where . . . the list emphasizes
   random similarities scattered throughout the works.’" [Dkt. #25, p. 8.] (quoting
25 Litchfield v. Spielberg, 736 F.2d 1352, 1356 (9th Cir. 1984).
26 13     Among other things, both works “begin with a prologue that takes place ten
   years prior to the main story; introduce the main characters during a battle, at gunpoint;
27 involve treasure stories that take place on islands and in jewel-filled caves; include past
   stories of betrayal by a former first mate; contain fearful moments driven by skeleton
28 crews; focus on the redemption of a young, rogue pirate; and share some similarities in
   dialogue and tone.” Alfred, 821 F. App’x at 729.
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 1 the alleged similarities between the works were “unprotected generic, pirate-movie
 2 tropes,” (id. at 729), the Ninth Circuit was concerned that “the blockbuster Pirates of
 3 the Caribbean film franchise may itself have shaped what are now considered pirate-
 4 movie tropes.” Id. It therefore concluded that expert testimony “would be particularly
 5 useful in this circumstance” to help determine “whether such elements are indeed
 6 unprotectible material.” Id.
 7           None of the circumstances present in Alfred exist in the present case. Moreover,
 8 as an unpublished decision, Alfred is not binding precedent. Ninth Circuit Rule 36-3.14
 9 Not only did the decision not establish a presumption against granting motions to
10 dismiss based on an absence of substantial similarity, the overwhelming weight of
11 Ninth Circuit precedent supports dismissing copyright claims on this basis when no
12 reasonable fact-finder could find the works substantially similar in protected
13 expression.15 Notably, following Alfred, the Ninth Circuit recognized that there will be
14 times “where the court’s judicial experience and common sense shows that the claims
15 are not plausible.” Matterson v. Walt Disney Co., 821 F. App’x 779, 780 (9th Cir.
16 2020).
17           Furthermore, this Court has already ruled as a matter of law (in connection with
18 Defendant’s motion to dismiss the original Complaint) that: (i) “courts can determine
19 whether substantial similarity exists on a motion to dismiss if both the copyrighted and
20 allegedly infringing works are before the court, and there is no reasonable basis upon
21
22   14
          Ninth Circuit Rule 36-3 provides: “Unpublished dispositions and orders of this
23 Court are not precedent, except when relevant under the doctrine of law of the case or
   rules of claim preclusion or issue preclusion.”
24 15     See, e.g., Masterson, 821 F. App’x at 780 (affirming dismissal of infringement
   claim after district court compared the film Inside Out with plaintiff’s film script);
25 Esplanade Prods. v. Walt Disney Co., 768 F. App’x 732, 733-34 (9th Cir. 2019)
   (affirming dismissal after district court compared the film Zootopia with plaintiff’s
26 work); Silas v. HBO, 713 F. App’x 626, 627 (9th Cir. 2018) (same); Abdullah v. Walt
   Disney Co., 714 F. App’x 758, 759 (9th Cir. 2018) (same); Shame on You Prods., Inc.
27 v. Banks, 690 F. App’x 519 (9th Cir. 2017) (affirming dismissal of infringement claim
   after district court expressly refused to consider expert reports).
28

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 1 which a jury could find the two works substantially similar;” (ii) “[t]he Complaint does
 2 not allege similarities between #Squadgoals and the Bull episode;” and (iii) Plaintiff
 3 failed to demonstrate how any of the alleged similarities “are ‘particularly selected and
 4 arranged’ in a manner different than commonplace elements or a random selection
 5 thereof.” [Dkt. #25, pp. 5, 7, 8.] These determinations continue to be applicable to the
 6 allegations of the Amended Complaint.
 7 IV.       PLAINTIFF FAILS TO STATE A VIABLE CLAIM FOR COPYRIGHT
 8           INFRINGEMENT.
 9           To prevail on a claim for copyright infringement, a plaintiff must show
10 (i) ownership of a valid copyright16 and (ii) that the defendant copied original elements
11 of that work. Feist Publ’ns, Inc. v. Rural Tel. Servs. Co., 499 U.S. 340, 361 (1991); see
12 also Funky Films, Inc. v. Time Warner Entm’t Co., L.P., 462 F.3d 1072, 1076 (9th Cir.
13 2006). The second prong of this analysis requires that the plaintiff establish that “the
14 infringer had access to [his or her] copyrighted work and that the works at issue are
15 substantially similar in their protected elements.” Cavalier v. Random House, Inc.,
16 297 F.3d 815, 822 (9th Cir. 2002); see also Funky Films, 462 F.3d at 1076.17
17           A.    Plaintiff Fails To Allege Plausible Facts That Defendant Had Access
18                 To Plaintiff’s Works.
19                 1.    Access Standards
20           In order to demonstrate “access,” a plaintiff must sufficiently allege that the
21 purported infringer had a “reasonable opportunity,” not simply a “bare possibility,” of
22 seeing the plaintiff’s work prior to the creation of the allegedly infringing work. Three
23   16
             The Amended Complaint does not allege Plaintiff’s ownership of a valid
     copyright. She did allege such ownership in her original Complaint. [Dkt. #2, ¶ 19.]
24   Accordingly, Defendant will assume that Plaintiff can satisfy this requirement for
     purposes of this Motion.
25   17
             To the extent Plaintiff’s Amended Complaint purports to allege that Defendant
26   infringed her copyright by preparing an unauthorized derivative work, the standard is
     still the same. See Kullberg v. Pure Flix Entm’t LLC, No. 16-3949, 2016 WL 7324155,
27   at *1 (C.D. Cal. Oct. 12, 2016) (dismissing plaintiff’s copyright claim based on
     defendants’ alleged unauthorized derivative work because the works at issue were not
28   substantially similar); Chey v. Pure Flix Entm’t LLC, No. 16-4362, 2017 WL 5479640,
     at *4 (C.D. Cal. Feb. 10, 2017) (same).
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 1 Boys Music Corp. v. Bolton, 212 F.3d 477, 482 (9th Cir. 2000). Access “may not be
 2 inferred through mere speculation or conjecture.” Id.; Weiss v. DreamWorks SKG,
 3 No. 14-02890, 2015 WL 12711658, at *3 (C.D. Cal. Feb. 9, 2015) (granting motion to
 4 dismiss because allegations of access were “mere conjecture”); Schkeiban v. Cameron,
 5 No. 12-0636, 2012 WL 12895722, at *1-2 (C.D. Cal. May 10, 2012) (granting motion
 6 to dismiss where “[p]laintiff [] pled no facts indicating that it was reasonably possible
 7 that defendants had access to the work but rather merely speculate[d] that it occurred
 8 without foundation”). To survive a motion to dismiss, the plaintiff must allege either:
 9 “(i) a particular chain of events . . . between the plaintiff’s work and the defendant’s
10 access to that work . . . or (ii) that the plaintiff’s work has been widely disseminated.”
11 Three Boys Music, 212 F.3d at 482.
12           If a plaintiff claims that a defendant obtained access to his or her work via a third
13 party, the plaintiff must allege a sufficient nexus between “the individual who
14 possesses knowledge of a plaintiff’s work and the creator of the allegedly infringing
15 work.” Meta-Film Assocs., Inc. v. MCA, Inc., 586 F. Supp. 1346, 1356-59, 1364 (C.D.
16 Cal. 1984) (even though plaintiff showed his work to a director who was under contract
17 with the defendant studio and worked on the studio lot, he could not demonstrate any
18 connection between that director and the studio’s allegedly infringing project); Griffin
19 v. Peele, No. 17-01153, 2017 WL 8231241, at *6 (C.D. Cal. Oct. 18, 2017) (no
20 evidence of access where plaintiff’s allegations of a chain of events were “unverifiable”
21 and nothing “more than a bare possibility”).
22           In order to sufficiently allege such a nexus, the plaintiff must allege that he/she
23 submitted his/her work to an intermediary who either:                  “(1) has supervisory
24 responsibility for the allegedly infringing project, (2) contributed ideas and materials to
25 it, or (3) worked in the same unit as the creators.” Gable v. Nat’l Broad. Co., 727 F.
26 Supp. 2d 815, 826 (C.D. Cal. 2010), aff’d sub nom. Gable v. Nat’l Broad. Co., 438 F.
27 App’x 587 (9th Cir. 2011) (emphasis added); see also Panton v. Strong, No. 17-00050,
28 2018 WL 5099666, at *3 (C.D. Cal. Mar. 14, 2018) (holding that plaintiff had not

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 1 sufficiently alleged access because even if the intermediary sent plaintiff’s work to the
 2 director of one episode of the infringing series, plaintiff could not allege that the
 3 director gave plaintiff’s work to the creators of the infringing series a decade later);
 4 Bernal v. Paradigm Talent & Literary Agency, 788 F. Supp. 2d 1043, 1057-58 (C.D.
 5 Cal. 2010) (no reasonable possibility of access where the plaintiff’s script was sent to
 6 agent who worked at the same agency as the agent of the infringing show’s creator, and
 7 there was no evidence beyond speculation that the two discussed the script); Loomis v.
 8 Cornish, No. 12-5525, 2013 WL 6044349, at *2-4 (C.D. Cal. Nov. 13, 2013), aff’d
 9 836 F.3d 991 (9th Cir. 2016) (insufficient evidence of access where plaintiff never met
10 with writers of the allegedly infringing work and the alleged intermediary had no
11 involvement with the creation of the infringing work).18 As explained below, Plainitff
12 fails to allege any such sufficient nexus.
13                 2.    Plaintiff’s Allegations of Defendant’s Purported Access To Her
14                       Works Are Pure Speculation.
15           In her Amended Complaint, Plaintiff offers four unrelated theories as to how
16 Defendant possibly might have obtained access to her Works:
17           (1)   Defendant’s predecessor company, CBS, had a “first look” deal with
18 Imagine Impact, to which Plaintiff submitted her Works for its consideration;
19           (2) Dan Lerner, who is the credited director of the Bull Episode, once worked
20 with Brian Grazer, the co-founder of Imagine Entertainment, on the television series
21 Friday Night Lights;
22           (3) Paul Attanasio, who is credited as one of the co-creators of the Bull series,
23 once worked with Mr. Grazer and Ron Howard, Imagine Entertainment’s other
24 co-founder, on a project entitled Eden; and
25
26
27   18
         In its August 20, 2020 Order granting Defendant’s motion to dismiss Plaintiff’s
28 original Complaint, this Court acknowledged these legal principles, citing to both Three
   Boys Music Corp. and Loomis. [Dkt. # 25, p. 6.]
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 1           (4) Plaintiff allegedly sent her Works by email to Shima “Azarafa”19 and Olivia
 2 Hass, who Plaintiff alleges are producers employed by CBS.
 3 Each of these theories is utterly speculative, and fails as a matter of law to state a
 4 cognizable claim of access by Defendant to Plaintiff’s Works.
 5           First, this Court has already rejected the so-called “first look” deal with Imagine
 6 Impact as legally insufficient to establish access:
 7           Here, Plaintiff alleges she submitted her treatment to Imagine, who
 8           worked with ViacomCBS pursuant to a “first-look deal.” (Compl. at
 9           ¶ 31.) Thus, Plaintiff alleges access via an intermediary. The Complaint
10           does not allege ViacomCBS received the treatment. (Id.) Therefore,
11           whether ViacomCBS had a reasonable opportunity to view Plaintiff’s
12           work is speculative.
13 [Dkt. #25, pp. 6-7.] Plaintiff has made no changes to this theory of access, other than to
14 allege that she submitted both the Pilot and the Treatment to Imagine Impact.
15 [Amended Complaint, p. 2.]20
16           Second, the fact that the director of the Bull Episode might have once worked
17 with Mr. Grazer on an unrelated television series (Friday Night Lights) is just as
18 speculative, if not more so, than her allegations of access through Imagine Impact.
19 Plaintiff cannot and does not allege that Mr. Grazer was ever in possession of her
20 Works or that he provided them to Mr. Lerner; and the mere fact that the two
21 previously may have worked together on an unrelated television series does not permit
22   19
            Plaintiff misspells Ms. Azarafza’s name in her Amended Complaint. She spelled
     it correctly in the declaration she supplied in opposition to Defendant’s motion to
23   dismiss the original Complaint. [See Dkt. #20-1 at p. 2.]
     20
24          Clearly unable to allege that anyone at Imagine Impact actually shared her works
     with anyone involved in the production of the Bull Episode, Plaintiff claims that in
25   January 2020, she met with Rich Battista, the former president of Imagine
     Entertainment (not Imagine Impact), who Plaintiff alleges is her mentor. Plaintiff
26   purportedly outlined her claims against Defendant, and Mr. Battista allegedly told her,
     “I’m really sorry that happened to you.” [Amended Complaint, p. 3.] Plaintiff asserts
27   that Mr. Battista’s response was “a tacit admission of guilt.” [Id.] This is absurd –
     Mr. Battista’s expression of sympathy for Plaintiff does not even constitute an
28   admission of wrongdoing on behalf of Imagine Entertainment, much less an admission
     by Defendant that it obtained access to Plaintiff’s works through either third party.
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 1 any inference of access by Defendant to her Works. And, as a matter of indisputable
 2 fact, Mr. Lerner worked on only a single episode of Friday Night Lights in 2006,
 3 13 years before Plaintiff submitted her works to Imagine Impact. [Request for Judicial
 4 Notice (“RJN”), ¶ 3 and Palmer Declaration, Exhs. A and B.]
 5           Third, Plaintiff’s allegations that the co-creator of the Bull series once worked on
 6 a project with Mr. Grazer and Mr. Howard is just as speculative as her allegations
 7 respecting Mr. Lerner. [Amended Complaint, pp. 3-4.] Plaintiff cannot and does not
 8 allege that Mr. Grazer and/or Mr. Howard were ever in possession of her Works or that
 9 either of them provided her Works to Mr. Attanasio. The mere fact that they previously
10 might have worked together on an unrelated project does not permit any inference of
11 access by Defendant to her Works. And, as a matter of indisputable fact, Mr. Attanasio
12 was hired by Universal Pictures in 2004 – 15 years before Defendant submitted her
13 works to Imagine Impact – to adapt John Steinbeck's classic novel East of Eden for a
14 remake that Mr. Howard was going to direct with Mr. Grazer producing. [RJN, ¶ 4 and
15 Palmer Declaration, Exh. C.]
16           Fourth, since neither Ms. Azarafza nor Ms. Hass is alleged to be a producer of
17 the Bull Episode, they too are purported intermediaries. However, Plaintiff has not
18 alleged – and cannot allege – that either Ms. Azarafza or Ms. Hass had supervisory
19 responsibility for the Bull Episode, contributed ideas and materials to it, or worked in
20 the same unit as the creators of the Bull Episode. Gable v. Nat’l Broad. Co., 727 F.
21 Supp. 2d 815, 826 (C.D. Cal. 2010), aff’d sub nom. Gable v. Nat’l Broad. Co., 438 F.
22 App’x 587 (9th Cir. 2011). In fact, it is indisputable that Ms. Azarafza and Ms. Hass
23 had no involvement with the Bull Episode. [RJN, ¶¶ 5-6 and Palmer Declaration, Exhs.
24 E, F and G.]
25           In summary, the Amended Complaint fails to allege any credible facts that, even
26 if taken as true, would establish that Defendant had a “reasonable opportunity” to view
27 Plaintiff’s Works.       Three Boys Music Corp., 212 F.3d 477, 482 (9th Cir. 2000).
28 Plaintiff’s allegations are pure conjecture. Frankly, Plaintiff’s allegations do not even

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 1 rise to the level of a legally insufficient “bare possibility.” For these reasons alone,
 2 Plaintiff’s claims should now be dismissed with prejudice.
 3           B.   The Works and The Bull Episode Are Not Substantially Similar.
 4                1.    Substantial Similarity Standards
 5           Courts routinely dismiss copyright infringement claims at the pleading stage
 6 where no substantial similarity is found. See, e.g., Zella v. E.W. Scripps Co., 529 F.
 7 Supp. 2d 1124, 1139 (C.D. Cal. 2007).21 Since the works themselves are determinative
 8 of substantial similarity, not the allegations of the complaint, courts compare the works
 9 in dispute and assess whether they are substantially similar in protectable expression.
10 See, e.g., Shwarz v. United States, 234 F.3d 428, 435 (9th Cir. 2000); Cory Van Rijn,
11 Inc. v. Cal. Raisin Advisory Bd., 697 F. Supp. 1136, 1138 (E.D. Cal. 1987) (in
12 copyright infringement cases “the works themselves supersede and control any contrary
13 allegations, conclusions or descriptions of the works”).
14           The Ninth Circuit employs a two-part test that combines an extrinsic and
15 intrinsic analysis to determine substantial similarity, and a plaintiff must satisfy both
16 tests in order to prevail on a copyright infringement claim. Rice v. Fox Broad. Co.,
17 330 F.3d 1170, 1174 (9th Cir. 2003). A failure to satisfy the extrinsic component on a
18 motion to dismiss requires judgment for the defendant as a matter of law. See Funky
19 Films, 462 F.3d at 1077. The extrinsic test ignores “basic plot ideas” but instead
20 “focuses on ‘articulable similarities between the plot, themes, dialogue, mood, setting,
21 pace, characters, and sequence of events’ in the two works.” Funky Films, 462 F.3d at
22 1077 (quoting Kouf v. Walt Disney Pictures & Television, 16 F.3d 1042, 1045 (9th Cir.
23 1994); see also Berkic v. Crichton, 761 F.2d 1289, 1293 (9th Cir. 1985). Notably, the
24 Court must look only at whether the “protectable elements, standing alone, are
25 substantially similar.” Funky Films, 462 F.3d at 1077 (emphasis in original); Cavalier,
26 297 F.3d at 822. A motion to dismiss should be granted if, after comparing the works,
27
     21
28         See also Newt, 2016 WL 4059691, at *3-12; Musero, 2010 WL 11595453, at
     *2-6; Scott, 2009 WL 10673163, at *2-6; Campbell, 718 F. Supp. 2d at 1116.
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 1 a court concludes that “no reasonable jury could find that the works are substantially
 2 similar, or if it concludes that the similarities pertain only to unprotected elements.”
 3 Zella, 529 F. Supp. 2d at 1131.
 4           A claim of substantial similarity must be based on more than “[g]eneral plot
 5 ideas [as they] are not protected by copyright law [and] remain forever the common
 6 property of artistic mankind.” Berkic, 761 F.2d at 1293-94 (“adventures of a young
 7 professional who courageously investigates, and finally exposes, the criminal
 8 organization” was a basic and unprotected plot); see also Funky Films, 462 F.3d at
 9 1081 (general plot idea of a family-run funeral home, the father’s death, and the return
10 of the son who assists in maintaining the business was not protected); Kouf, 16 F.3d at
11 1045 (general plot idea of the “life struggle of [shrunken] kids fighting insurmountable
12 dangers” was not protected); Olson v. Nat’l Broad. Co., 855 F.2d 1446, 1450 (9th Cir.
13 1988) (general idea of a group action-adventure series in which Vietnam veterans do
14 good deeds and are portrayed in a positive light is not protectable); Campbell, 718 F.
15 Supp. 2d at 1112 (the young mentee-older mentor storyline is a “‘basic plot idea [] not
16 protected by copyright law’”); Metcalf v. Bochco, 294 F.3d 1069, 1074 (9th Cir. 2002)
17 (“One cannot copyright the idea of an idealistic young professional choosing between
18 financial and emotional reward, or of love triangles among young professionals that
19 eventually become strained, or of political forces interfering with private action.”).
20           The use of elements that constitute scènes à faire or stock scenes that are
21 “indispensable and naturally associated with” generic plotlines, or are standard to the
22 treatment of a certain topic, are also not protectable. Rice, 330 F.3d at 1175, 1177 (“the
23 sequencing of first performing [a magic] trick and then revealing the secrets behind the
24 trick is . . . scenes a faire” and typical of any work about magic tricks); Benay v.
25 Warner Bros. Entm’t, Inc., 607 F.3d 620, 627-28 (9th Cir. 2010) (scenes featuring a
26 protagonist sailing into Japan, the Imperial Palace and battle scenes in various places in
27 Japan were scènes à faire and typical of a work centered on “an American war veteran
28 who travels to Japan to help the Emperor fight a samurai rebellion”); Berkic, 761 F.2d

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 1 at 1294 (“[D]epictions of the small miseries of domestic life, romantic frolics at the
 2 beach, and conflicts between ambitious young people on one hand, and conservative or
 3 evil bureaucracies on the other . . . are familiar scenes and themes [that] are among the
 4 very staples of modern American literature.”); Gable, 727 F. Supp. 2d at 841
 5 (storylines driven by the “basic plot idea of turning one’s life around,” and “[t]he
 6 concept of a bad person spending time in prison, and then trying to clean up their act by
 7 making restitution and getting a job are unprotectable scenes-a-faire”); Walker v. Time
 8 Life Films, Inc., 784 F.2d 44, 50 (2d Cir. 1986) (“elements such as drunks, prostitutes,
 9 vermin and derelict cars would appear in any realistic work about . . . policemen in the
10 South Bronx,” and thus are unprotectable scènes à faire).           Moreover, numerous
11 differences between two works tend to undercut substantial similarity. Gable, 727 F.
12 Supp. 2d at 841–42 (“Although there are some general similarities between the works,
13 the similarities pale in comparison to the significant differences between the works.”).
14                2.    The Works And The Bull Episode Are Not Substantially Similar
15                      In Protected Expression.
16                      a.    As This Court Has Already Ruled, The Treatment And The
17                            Bull Episode Are Not Substantially Similar In Protected
18                            Expression.
19           In her original Complaint, Plaintiff alleged that the Treatment and the Bull
20 Episode were substantially similar because (1) the protagonists have similar names;
21 (2) both protagonists are African-American social media influencers who suffer from a
22 mental illness; (3) both protagonists rose to fame from humble beginnings; and (4) both
23 works feature a plot point in which the protagonist is manipulated to secure a better
24 economic opportunity for her brand. In the Court’s Order granting Defendant’s motion
25 to dismiss Plaintiff’s original Complaint, it compared the Treatment and the Bull
26 Episode, and noted that Plaintiff did not explain how these alleged generic similarities
27 were “particularly selected and arranged in a manner different than commonplace
28 elements or a random selection thereof.” [Dkt. #25, p. 8.] Essentially, the alleged

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 1 similarities based on the protagonists’ names, race, careers, mental illnesses, and
 2 backgrounds do not satisfy the extrinsic test. The court also noted the numerous
 3 glaring differences that exist between the Treatment and the Bull Episode: the different
 4 overall plots and the secondary characters that “bear no resemblance to each other.”
 5 [Id. at p. 9.]22
 6           The Amended Complaint embellishes Plaintiff’s list of claimed similarities.
 7 These additions are inaccurate and ultimately irrelevant insofar as they relate to the
 8 Treatment, because this Court has already compared it to the Bull Episode and has held
 9 that the two works are not substantially similar in protected expression.
10                       b.     The Alleged Similarities Between the Pilot And Bull Episode
11                              Are Grossly Inaccurate.
12           The alleged commonalities between the Pilot and the Bull Episode are legally
13 insignificant over-generalizations, and at times, plainly inaccurate. Plaintiff alleges that
14 both protagonists come from single-parent homes. [Amended Complaint, pp. 7, 10.]
15 There is no reference whatsoever to Sadie’s family background in the Pilot, much less
16 that she was raised by a single parent, or why. While Sadie’s father is the only parent
17 present in the Bull Episode, the episode gives no information about Sadie’s mother.
18           Plaintiff asserts that the protagonists in both works “suffer[ed] in silence” with
19 respect to their “mental illnesses” for “fear of being stigmatized.” [Id. at pp. 5, 7, 10.]
20 However, there is no notable plotline in the Pilot involving Sadie’s silent battle with
21 mental illness, other than a suggestion that she had social anxiety and low self-esteem.23
22 By contrast, the Bull Episode focuses heavily on Sadie’s ongoing battle with bipolar
23
   22
          The Court observed: “#SquadGoals is akin to a “whodunnit” murder mystery,
24 while the Bull episode is akin to a courtroom procedural; the plot of #SquadGoals
   focuses on the social dynamics of a group of friends after the suspicious disappearance
25 of their leader, while the plot of the Bull episode focuses on the protagonist attempting
   to end her father’s legal guardianship over her; and the secondary characters of the
26 works bear no resemblance to each other. [Dkt. #25, pp. 8-9.]
27 23     Plaintiff alleges in her Amended Complaint that both protagonists have eating
   disorders. [Amended Complaint, pp. 7, 9.] This is inaccurate. Sadie in the Bull
28 Episode suffers from bipolar (not an eating) disorder. In the Pilot, Sadie pulls on plush
   parts of her body to see if she is fat.
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 1 disorder, her very public meltdown, the conservatorship that a court imposed as a
 2 consequence of that meltdown, and the jury trial to end her father’s conservatorship.
 3           The plots around the protagonists’ careers also are not similar. Plaintiff alleges
 4 that both protagonists are “transitioning from an influencer to a mega-star by securing
 5 an international beauty brand endorsement deal that threatens the integrity of her
 6 brand.” [Id. at p. 8.] Yet, neither protagonist is transitioning into a mega-star. There
 7 is very little plot in the Pilot regarding what Sadie’s next career move will be and how
 8 it will affect her brand.24 Defendant’s protagonist in the Bull Episode, by contrast, is
 9 deciding whether to sell her brand to a company that will remove her as its face— a
10 decision that would arguably make her less of a “mega-star.”
11           Plaintiff alleges that both protagonists are trying to step into their own identities
12 and find “their unique voices.” [Id.] In the Pilot, Plaintiff’s protagonist has merely
13 benefited from Roxy’s disappearance because all of Roxy’s influencer campaigns went
14 to Sadie; she is not searching for her own identity or unique voice. In the Bull Episode,
15 Sadie’s only goal is to end her father’s conservatorship; she already has a distinct voice
16 and identity and is not engaged in any search to find it. Plaintiff asserts that “race” in
17 the Pilot and the Bull Episode is expressed in a similar way because both protagonists
18 are the only influencers of color in their industries. This, too, is inaccurate. In the Bull
19 Episode, Sadie does make note that she started her brand because she perceived a need
20 for makeup and makeup tips specifically for women of color. The Pilot does not focus
21 on its protagonist’s race at all.
22           Lastly, Plaintiff alleges that both protagonists are unaware their “managers” are
23 “betraying” them. [Id. at p. 10.] In the Pilot, Evvy is Sadie’s publicist, not her
24 manager, and the Pilot makes no reference to Evvy’s purported betrayal of Sadie (that
25   24
         Plaintiff also alleges that the Pilot and the Bull Episode are similar because in
26 both there is a “global beauty brand that wants [the protagonist] to conform to
   mainstream beauty standards.” [Amended Complaint, p. 10.] Again, this is inaccurate.
27 In the Bull Episode, the global brand wants a completely new face for Sadie’s brand,
   and does not pressure Sadie to “conform to mainstream beauty standards.” There is no
28 global brand whatsoever in the Pilot, much less one that wants Plaintiff’s protagonist to
   conform to mainstream standards of any sort.
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 1 idea exists only in the Treatment). In the Bull Episode, Sadie’s father is her legal
 2 guardian, not her manager, and he is openly attempting to sell Sadie’s business over her
 3 objections, not to betray her but to ensure her financial security.
 4                       c.     The Remaining Claimed Similarities Between the Pilot and
 5                              The Bull Episode Are Not Protectable Under Copyright Law.
 6                              i.    Characters
 7           Generalized character types are not protected by copyright law. Rice, 330 F.3d at
 8 1175; Kouf, 16 F.3d at 1046. Only those characters that are “especially distinctive,”
 9 such as Mickey Mouse and Superman, receive copyright protection. Olson, 855 F.2d at
10 1452. By contrast, most literary characters are little more than “the chessmen in the
11 game of telling the story,” and are not afforded copyright protection. Warner Bros.
12 Pictures, Inc. v. Columbia Broad. Sys., Inc., 216 F.2d 945, 949-50 (9th Cir. 1954).
13           Moreover, “characters which naturally flow from a ‘basic plot idea’ are
14 ‘scenes-a-faire.’” Campbell, 718 F. Supp. 2d at 1115; see also Cavalier, 297 F.3d at
15 825 (“[A] moon character can be considered a stock character for children’s literature,
16 and directly flows from the idea of a journey in the night sky.”); Newt, 2016 WL
17 4059691, at *5 (“[T]he concept of characters with a troubled past is not protectable.”).25
18 If characters “have noticeable differences,” the fact that they share some similarities
19 does not establish substantial similarity. Silas v. Home Box Office, 201 F. Supp. 3d
20 1158, 1177 (C.D. Cal. 2016). None of the characters in the Pilot come close to being
21 sufficiently distinctive to be eligible for copyright protection; and none are even
22 remotely similar to the characters in the Bull Episode, in any event.
23   25
         In general, courts require a very high degree of similarity between characters in
24 order for them to be considered independently copyrightable. See Shaw v. Lindheim,
   919 F.2d 1353, 1358 (9th Cir. 1990) (no substantial similarity between characters who
25 were both well educated, wealthy, had expensive tastes, and fought against injustice);
   Benay, 607 F.3d at 626-27 (no substantial similarity between characters who differed in
26 their marital status, job, dreams/nightmares, and ideology); see also Shame on You
   Prods., Inc. v. Elizabeth Banks, 120 F. Supp. 3d 1123, 1165 (C.D. Cal. 2015) aff’d sub
27 nom. Shame on You Prods., Inc. v. Banks, No. 15-56372, 2017 WL 1732279 (9th Cir.
   May 3, 2017) (quoting Alexander v. Murdoch, No. 10–5613, 2011 WL 2802899, at *10
28 (S.D.N.Y. May 27, 2011)) (“‘[A] stunningly beautiful, fiery, temperamental, Latina
   mother, with a thick accent’” is a stock character).
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 1           In the Pilot, Plaintiff’s protagonist is a borderline sociopath who is willing to hurt
 2 anyone in order to retain her status as a celebrity influencer. This is the exact opposite
 3 of the Sadie portrayed in the Bull Episode, who appears to have hurt only one person (a
 4 photographer) – inadvertently – years ago when she had her manic episode. Plaintiff’s
 5 protagonist sometimes is portrayed as a self-conscious and naïve young woman who
 6 succumbs to the pressures of living in the highly critical world of social media
 7 influencers. By contrast, the protagonist in the Bull Episode is smart, sympathetic and
 8 kind, and she does not appear to be influenced by the perceptions of others. Plaintiff
 9 alleges that both protagonists specialize in the “specific niche of beauty.” [Amended
10 Complaint, p. 5.] This over-generalization conceals the strikingly different ways this is
11 expressed: Plaintiff’s protagonist is a superficial and materialistic social media
12 influencer who has an interest in fashion, while the protagonist in the Bull Episode is a
13 self-made entrepreneur with a successful makeup company that she, like every other
14 modern business owner, promotes through social media.
15           Although the protagonists in each work have the same first name and a similar
16 last name, names are not copyright protectable.                 See Counts v. Meriwether,
17 No. 14-00396, 2015 WL 9594469, at *12 (C.D. Cal. Dec. 30, 2015) (noting that the
18 name “Spencer” was not copyrightable). Further, in its Order granting Defendant’s
19 motion to dismiss Plaintiff’s original Complaint, this Court judicially noticed the fact
20 that the last name of the protagonist in the Bull Episode (Williams) is the third most
21 common last name according to the U.S. Census Bureau data, and nearly 50 percent of
22 the census respondents with that last name identify as African-American.26 See Marcus
23 v. ABC Signature Studios, Inc., 279 F. Supp. 3d 1056, 1063, 1069 (C.D. Cal. 2017)
24 (partially relying on U.S. Census data regarding the commonality of the last name
25 “Johnson” and holding that “the fact that characters have identical names and have
26 similar roles in two works does not necessitate a finding of substantial similarity”).
27 This Court also judicially noticed that, by contrast, the last name of the protagonist in
28   26
             See RJN, Fact No. 1; Hill Decl., Exh. C [Dkt. #15-1, pp. 73-79].
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 1 the Pilot (Williamson) is the 267th most common last name according to the same
 2 Census Bureau data, and only 17 percent of the census respondents with that last name
 3 identify as African-American. [Dkt. #25, p. 4.]
 4           Plaintiff does not allege any similarities between the Pilot and the Bull Episode’s
 5 secondary characters, because there are none. In fact, this Court already found with
 6 respect to the Treatment that “the secondary characters of the works bear no
 7 resemblance to each other.” [Dkt #25, p. 9.] There are no additional secondary
 8 characters in the Pilot that are substantially similar to characters in the Bull Episode.
 9                              ii.    Plot
10           Like the Treatment, the overall plotline of the Pilot centers on the disappearance
11 of the protagonist’s friend, Roxy, and the ensuing police investigation. There simply is
12 no comparable plotline in the Bull Episode.            Rather, this episode focuses on a
13 successful business owner’s attempt to end a legal conservatorship in order to regain
14 control over her business and personal life; and even more importantly, it is the story of
15 a daughter and her father and the difficulties with that relationship.27
16           In her Amended Complaint, Plaintiff unsuccessfully attempts explain how the
17 alleged plot similarities are arranged in a particular way and are not just random and
18 general elements. She states generally that both protagonists share “an almost identical
19 journey with numerous similarities unfolding in a patterned, particular, and arranged
20 way.”         [Amended Complaint, p. 6.]      However, a comparison of the two works
21 evidences that the protagonists’ respective “journeys” are not even remotely similar and
22 the events that unfold in the two stories follow no common pattern.28
23
24   27
            See Dkt #25, p. 9 (“significant differences between the two works exist . . . the
     plot of #SquadGoals focuses on the social dynamics of a group of friends after the
25   suspicious disappearance of their leader, while the plot of the Bull episode focuses on
     the protagonist attempting to end her father’s legal guardianship over her.”)
26   28
            Plaintiff cites to Metcalf for its proposition that if similar elements are
27   “numerous enough and their selection and arrangement original enough that their
     combination” may be copyrightable. 294 F.3d at 1074. The sheer number (and
28   accuracy) of the similarities between the two works at issue in Metcalf readily
     distinguishes that case from Plaintiff’s claim.
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 1                             iii.   Theme, Dialogue, Mood, Setting and Pace
 2           Even though Plaintiff had a full opportunity to review the Bull Episode, review
 3 Defendant’s arguments in its previous motion to dismiss and use her Amended
 4 Complaint to attempt to remedy any deficiencies, she still did not identify any
 5 purported similarities in the themes, dialogue, mood, setting or pace of the respective
 6 works. That is because there simply are none. The Pilot is set principally in a Los
 7 Angeles nightclub and police station, while the Bull Episode is set in Dr. Bull’s New
 8 York office and a New York courtroom. There is no similar dialogue in the two works.
 9 The Pilot includes expletives and references to sexual acts, violence and drugs, none of
10 which are present in the Bull Episode. And, as the Court observed in its prior Order
11 (with respect to the Treatment): “#SquadGoals is akin to a ‘whodunit’ murder mystery,
12 while the Bull Episode is akin to a courtroom procedural.” [Dkt #25, p. 9.]
13           Plaintiff has now been given a full and fair opportunity to demonstrate that the
14 Bull Episode is substantially similar in protected expression to her Works. She has not
15 done so and cannot do so, because the works at issue are what they are, no matter how
16 Plaintiff attempts to describe them as similar. It is now time for Plaintiff’s copyright
17 claim to be dismissed with prejudice.
18 V.        PLAINTIFF’S CLAIM FOR VIOLATION OF CALIFORNIA BUSINESS
19           AND PROFESSIONS CODE SECTIONS 17200 ET SEQ. IS PREEMPTED
20           BY THE COPYRIGHT ACT.
21           To the extent the Amended Complaint could be construed as alleging a Section
22 17200 claim, it could be based upon nothing other than the alleged copyright
23 infringement because no other wrongful acts are alleged therein. As this Court has
24 already concluded, such a Section 17200 claim is preempted by the Copyright Act
25 because it does not satisfy the “extra element” test. [Dkt. #25, pp. 10-11.] This claim
26 must now be dismissed with prejudice.
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 1 VI.       PLAINTIFF’S CLAIM FOR DECLARATORY RELIEF ALSO FAILS.
 2           To the extent the Amended Complaint could be construed as alleging a claim for
 3 declaratory relief, it continues to be dependent upon Plaintiff’s allegations of copyright
 4 infringement. As this Court previously ruled, if the copyright infringement claims fail
 5 to state viable claims for relief, the declaratory relief claim fails for the same reasons.
 6 [Dkt. #25, p. 11.] If Plaintiff’s copyright claim is now dismissed with prejudice, any
 7 claim for declaratory relief should suffer the same fate.
 8 VII. CONCLUSION
 9           It is well established that when the defects in a complaint cannot be cured by a
10 further amendment, the complaint should be dismissed with prejudice.               This is
11 particularly true when a motion to dismiss is based upon a comparison of copyrighted
12 works that are before the court. See e.g., Campbell, 718 F. Supp. 2d at 1116 (failure to
13 establish substantial similarity as a matter of law is a “defect [that] cannot be cured by
14 amendment”); Rentmeester v. Nike, Inc., 883 F.3d 1111, 1123 (9th Cir. 2018) (a motion
15 to dismiss with prejudice is proper where “[n]othing disclosed during discovery could
16 alter the fact that the allegedly infringing works are as a matter of law not substantially
17 similar”), overruled on other grounds by Skidmore v. Zepplin, 952 F.3d 1051 (9th Cir.
18 2020); Masterson, 821 F. App’x at 780 (citing string of cases in which the Ninth
19 Circuit has repeatedly over the past decade affirmed the dismissal of cases alleging
20 infringement).
21           For all of the reasons set forth above, Defendant respectfully requests that the
22 Court dismiss the Amended Complaint with prejudice in its entirety.
23
24 Dated: February 3, 2021                  KATTEN MUCHIN ROSENMAN LLP
25
26                                          By: /s/ Shelby A. Palmer
                                                  Shelby Palmer
27                                          Attorneys for Defendant
                                            ViacomCBS Inc.
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